      Case 3:23-cv-00160-PDW-ARS Document 42 Filed 09/10/24 Page 1 of 5




                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NORTH DAKOTA

North Dakota Human Rights Coalition, et al., )
                                               )   ORDER FOR RULE 26(f)
               Plaintiffs,                     )   PLANNING MEETING AND
                                               )   FOR RULE 16(b) SCHEDULING
       vs.                                     )   CONFERENCE, AND
                                               )   ORDER REGARDING
Patriot Front, et al.,                         )   DISCOVERY DISPUTES
                                               )
               Defendants.                     )   Case No. 3:23-cv-160


       IT IS ORDERED:

             Rule 26(f) Meeting and Rule 16(b) Scheduling Conference

       The court will hold a Rule 16(b) initial pretrial scheduling/discovery conference

on October 4, 2024, at 11:00 AM. The scheduling conference will be held in the

Magistrate Judge’s Chambers, Room 440, Quentin N. Burdick U.S. Courthouse, 655 1st

Avenue North, Fargo, ND 58102, if all counsel are from Fargo-Moorhead. Otherwise,

the conference will be held by telephone conference call to be initiated by plaintiff’s

counsel. The telephone number for the Magistrate Judge’s chambers is 701-297-7070. If

plaintiff’s counsel elects to use a call-in or teleconference service, instructions for

participation must be provided to the court and all counsel at least 24 hours prior to

the conference. The email address for chambers is ndd_j-senechal@ndd.uscourts.gov.

       Counsel may use the court’s sample Scheduling/Discovery plan, as revised in

2022, available at www.ndd.uscourts.gov/forms.

       At least 21 days prior to the scheduling conference, counsel must confer in person

or by telephone. As required by Rule 26(f)(2) of the Federal Rules of Civil Procedure,

during their conference, counsel must:
Case 3:23-cv-00160-PDW-ARS Document 42 Filed 09/10/24 Page 2 of 5




(1)   Discuss the nature and basis of their claims and defenses and the

      possibilities for promptly settling or resolving the case.

(2)   Make, or arrange to make, the initial disclosures required by Rule

      26(a)(1)(A).

(3)   Discuss any issues about preserving discoverable information, including

      electronically stored information. In discussing discovery of electronically

      stored information, counsel shall discuss what electronic sources each

      party will search, difficulty of retrieval, preservation of records, the form of

      production (electronic or hard-copy, format of production, inclusion of

      metadata, etc.), cost of production and which party will bear the cost,

      privilege/waiver issues, and any other electronic discovery issues. Prior to

      counsel’s Rule 26(f)(2) conference, counsel should determine who is most

      familiar with the client’s computer system, what electronic records the

      client maintains, how the client’ s electronic records are stored, the

      difficulty/ease of retrieving various records, the existence and terms of the

      client’s document retention/destruction policy, and whether the client has

      placed a “litigation hold” to prevent destruction of potentially relevant

      records. Counsel should review the District of Minnesota’s eDiscovery

      Guide prior to the scheduling conference. That guide is available on this

      court’s website at https://www.ndd.uscourts.gov/forms/ or directly at

      https://www.ndd.uscourts.gov/form/MN_EDiscovery_Guide.pdf.

(4)   Discuss any need for a protective order and the provisions of any desired

      protective order.



                                      2
     Case 3:23-cv-00160-PDW-ARS Document 42 Filed 09/10/24 Page 3 of 5




      (5)    Discuss alternative dispute resolution (ADR) methods and whether to

             request a court-hosted settlement conference/mediation. Counsel are

             required to discuss the feasibility of ADR not only between themselves but

             also with their respective clients.

      (6)    Whether the parties will consent to jurisdiction of the magistrate judge.

      (7)    With a view toward securing the just, speedy, and inexpensive

             determination of the matter, develop a proposed discovery plan which

             meets the requirements of Rule 26(f)(3).

      No later than two business days prior to the conference, counsel shall

submit their joint proposed scheduling/discovery plan, electronically signed and dated

by counsel for all parties, in WordPerfect or Word format, to the magistrate judge

at ndd_J-Senechal@ndd.uscourts.gov. The plan shall reflect the Rule 26(f)(2)

discussions and shall include, at minimum, proposed deadlines for each of the

following:

      (1)    Filing any motions to join other parties;

      (2)    Filing any motions to amend the pleadings;

      (3)    Filing any other anticipated nondispositive motions;

      (4)    Completion of fact discovery;

      (5)    Disclosure of experts and their opinions;

      (6)    Completion of expert discovery; and

      (7)    Filing any dispositive motions, with a deadline no later than April 1,

2025, unless good cause for a later date is established at the scheduling conference.1


      1 The dispositive motion deadline is used in assigning a trial date, which will

generally be approximately six months after the dispositive motion deadline.
                                             3
     Case 3:23-cv-00160-PDW-ARS Document 42 Filed 09/10/24 Page 4 of 5




      Any disagreements among counsel as to deadlines will be discussed at the

scheduling conference.

      Counsel are encouraged to have a comprehensive discussion and are required to

approach the meeting cooperatively and in good faith. The discussion of claims and

defenses should be substantive and meaningful.

                         Resolution of Discovery Disputes

      It is hereby ORDERED that the following steps be undertaken by all parties

prior to filing any discovery motions:

      (1)    The parties are required to confer and fully comply with Rule 37(a)(1) of

             the Federal Rules of Civil Procedure and Local Rule 37.1 by undertaking a

             sincere, good faith effort to resolve all differences without court action or

             intervention.

      (2)    In the event that all parties have made reasonable, good faith efforts to

             confer and attempt to resolve any differences, without success, the parties

             are then required to schedule a telephonic conference with the magistrate

             judge in an effort to try to resolve the discovery dispute prior to filing any

             discovery motions. The magistrate judge may require the parties to submit

             brief position statements prior to the telephonic conference.

      (3)    If the discovery dispute is not resolved during the telephonic conference

             with the magistrate judge, the magistrate judge may permit filing of

             discovery motions. In connection with the filing of any such motions, the

             moving party must fully comply with all requirements of Rule 37(a)(1) and

             Local Rule 37.1 and must submit the certifications required by those rules.



                                            4
     Case 3:23-cv-00160-PDW-ARS Document 42 Filed 09/10/24 Page 5 of 5




      (4)   The court will not hear any discovery motion unless the parties have made

            a sincere, good faith effort to resolve the dispute and all of the above-

            described steps have been strictly followed. A failure to fully comply with

            all of the prerequisite steps may result in a denial of any motion with

            prejudice and may result in an award of costs and reasonable attorney’s

            fees.

                             Direct Assignment Cases

      If your case has been directly assigned to a magistrate judge, you must return the

completed Consent/Reassignment Form in advance of the scheduling conference.

      Dated this 10th day of September, 2024.

                                                       /s/ Alice R. Senechal
                                                       Alice R. Senechal
                                                       United States Magistrate Judge




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